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                                             - IN THE UNITED STATES DISTRICT COUR
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     I'I                                          WESTERN DISTRICT OF ARKANSAS
                                                              FAYETTEVILLE DIVISION                                           .
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     RON.ALDPENSE
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                                                                                                                                        PLAINTIFF
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     t      s.                                                 Case No.
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     .(\LLY FINANCIAL, INC., preViously                                                                                                                                    :�


     pi own as GMAC, INC., and                                                                                                                                             i.
     EQUIFAX                                                                                                                                                               i
       I
          -     INFORMATION SERVICES, LLC                                                    .                                       DEFENDANTS                            �
       !�                                                                                                                                                                   fl
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                                                    COMPLAINT AND JURY DEMAND
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       I                    Comes now the Plaintiff Ronald Pense for his Complaint and Jury Demand                                                                          j
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    a               amst Defendants, Ally Financial Inc., previously known as GMAC, Inc., and                                                                               li
    i1uifax
    ' 'i·       -




                                 Information Services, LLC, and states:
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' 1·                                                                           PARTIES                                                                                       �I
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  I                         1.               Plaintiff, Ronald Pense, resides in WaShington County, Arkans.as,
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    which is within the district and division of this Court. Plaintiff is a consumer as �


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                fined by Section 168la(c) of the Fair Credit Reportipg Act, 15 U.S.C.
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                                                                                                                                                  §§ 1681, et
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    se/1. (the "FCRA").
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            ['1.'                                                                                                                                                               I
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            I
                                2.           Ally Financial Inc. ("Ally"), previously .known as GMAC, Inc., is a
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·    lj.S. bank holding company headquartered in Detroit", Michigan. The company
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     p�ovides a range of financial services including auto financing, corporate financing,
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insurance, and online banking. Ally is one of the top auto lenders in the U.S. by

volume. A�ly is also a "furnisher" of credit information as that term is defined by the
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FCRA.                                                                                     ·,




          3.   Equifax Information Services, LLC ("Equifax") regularly engages in


the business of assembling, evaluating, and dispersing information concerning the
                                                                                          I1
credit histories of consumers to furnish consumer reports, as defined by Section


1681a(d) of the FCRA, to third parties. Equifax provides such consumer credit
                                                                                          l
reports to third-party subscribers for monetary compensation. Equifax is a consumer

                                                                                          I
reporting agency as defined by Section 1681a(t) and is a "consumer reporting agency
                                                                                          !
that compiles and maintains files on consumers on a nationwide basis" as defined by       I
                                                                                          �
                                                                                          �
Section 1681a(p).


                                 JURISDICTION                                                 '




          4.   This lawsuit is brought under the FCRA and presents a federal
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question. Therefore, jurisdiction arises under 28 U.S.C § 1331 and 15 U.S.C § 1681,
                                                                                              !




et seq.


          5.   Venue   1s   proper   within    this   district   and   division   under


15 U.S.C. § 168lp and 28 U.S.C. § 1391(b).




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                           FACTUAI, ALLEGATIONS

                     Summary ofthe Fair Credit Reporting Act

      6.     The FCRA governs the conduct of consumer reporting agencies to
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preserve the integrity of the consumer banking system and to protect the rights of      f

consumers to fairness and accuracy in the reporting of their credit information.
                                                                                        j
      7.     The FCRA requires consumer reporting agencies to "adopt reasonable


procedures for meeting the needs of commerce for consumer credit, personnel,



                                                                                        I
insurance, and other information in a manner which is fair and equitable to the


consumer, with regard to the confidentiality, accuracy, relevancy, and proper           I
utilization of such information ...'' 15 U.S.C. § 1.681.(b).
                                                                                        1
                                                                                        11

      8.     The FCRA further requires that when preparing consumer reports a


consumer reporting agency must follow "reasonable procedures to assure maximum


possible accuracy of the information concerning the individual about whom the


report relates." 15 U.S.C. § 1681e(b).
                                                                                        I
      9.     The FCRA further prohibits consumer reporting agencies from I


reporting any adverse item· of information which antedates the credit report by over


seven years. 15 U.S.C. § 1681c.




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                          Processing ofCredit Information
        10.   Equifax regularly receives information from various sources around the

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                                                                                         l
country including banks, credit unions, automobile dealers, student loan providers,


public information vendors and others.


        11.   These sources are "furnishers" within the credit reporting industry


and under the FCRA.


        12.   Equifax collects information from thousands of furnishers, including       I
Ally.


        13.   The process by which Equifax receives, sorts, and stores information is


largely electronic.


        14.   Furnishers report credit information to Equifax through coded tapes


that are transmitted to Equifax monthly through software known as Metro 2.


        15.   Equifax takes the credit information reported by furnishers and c�eates    I
consumer credit files.

                                                                                         ·�
        16.   Credit files are updated electronically by the furnishers to reflect new   !
information regarding the reported accounts (sometimes referred to as "tradelines"
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within the industry).
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                   Plaintiff's Credit File and Consumer Reports
        17.   In 2005, Plaintiff purchased a Chevy Cavalier with financing through 1
                                                                                         1
                                                                                         l
GMAC.


        18.   In 2006, during a time when Plaintiff was in-between jobs, Plaintiff       :    .




missed three payments on the GMAC loan and GMAC repossessed the vehicle.


Upon information and belief, the first of those missed payments occurred in              1

February 2006.
                                                                                         l
        19.   A few months after the repossession, Plaintiff reclaimed the vehicle,
                                                                                         l
made all past due payments to GMAC and brought that loan current.


        20.   On May 15, 2009, GMAC's banking unit changed its name to Ally                  !
Bank.
                                                                                             I
        21.   In February 2010, Plaintiff made the final payment on the vehicle to
                                                                                             I
Ally.                                                                                        1
        22.   In 2011, Plaintiff discovered Ally was reporting the loan with a
                                                                                             :1
repossession status.


        23.   Although the loan was on Plaintiff's Trans Union and Experian credit


. files as "closed," the loan appeared on his Equifax credit file as a "repossession."
                                                                                             Ij
        24.   Between 2010 and 2016, Plaintiff made numerous attempts with
                                                                                              I
Equifax to correct the "repossession" reporting status of the loan.


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      25.    As part of his efforts, Plaintiff had numerous oral conversations and

exchanged numerous written documents between and among Ally and Equifax.


      26.    By reporting the above information to consumer reporting agencies,.          ·




Ally acts as a "furnisher" under the FCRA.


      27.    Frequently, Plaintiff has disputed the accuracy of Ally's reporting to       l

one or more consumer reporting agencies, including Equifax.


      28 .   The inaccurate reporting of Plaintiff's Ally auto loan as in a               l
"repossession" status caused Plaintiff to be denied funding for educational loans and ..


those loan denials further caused Plaintiff to incur additional educational costs;.


      29.    The inaccurate reporting .·of Plaintiff's Ally auto loan also caused         .1t
Plaintiff's loan application to Bank of America to be denied in June 2016 beq1use the


Ally loan was on Plaintiff's Equifax credit report as a "repossession."

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                              CLAIMS FOR RELIEF


                                    Count I
                           FCRA Violations Against Ally
                                                                                              1]
      30.    This is a claim for violations of the FCRA.
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      31.    Ally furnished credit information about Plaintiff to the consumer


reporting agencies.


      32.    Ally   is subject to   the   FCRA, including those duties set out        m
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                                                                                               l
15 USC § 1681s-2(b).

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           33.     At all times, Ally provided inaccurate, misleading and/or incomplete       I
     credit information to the consumer reporting agencies about Plaintiff. This              ,J
                                                                                              ·�
     inaccurate, misleading and/ or incomplete credit information was reported by the


     consumer reporting agencies to Plaintiff's potential employers and others in a
,�



     position of evaluating plaintiffs' creditworthiness, credit standing, credit capacity,
                                                                                               Il
     character and general reputation.


            34.    Plaintiff has notified one or more consumer reporting agencies of his


     . dispute of the information being reported by Ally. Upon information :ind belief,. a

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     form of Plaintiff's disputes and requests for reinvestigation were forwarded to Ally u


     by one or more consumer reporting agencies..


            35.    Information was available to Ally that should have, upon a reasonable


     investigation, informed Ally its reporting was inaccurate, misleading and/ or              I
     incomplete, including Ally's continued reporting of the repossession status after              I
     February 2013, the date after which this adverse item of information could no longer       l
                                                                                                    I
     be reported under Section 1681c of the FCRA and by failing for a period of time
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                                                                                                    J.
     following ·Plaintiff's reclamation to report the repossession as reclaimed or
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     reinstated.                                                                                    �


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                                          Page 7 of13
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      36.    Ally knows, should know or a cts         reckless ly in not knowing the        j
information Ally furnished regarding the repossession was inaccurate, misleading


and/or incomplete.


      37.    Despite its knowledge that the information being furnished about the


incidents was inaccurate, misleading and/or incomplete, Ally repeatedly reported


the information and repeatedly verified the information as accurate, knowing that by


doing so Plaintiff's creditworthiness and eligibility for employment would be

damaged.


      38.    Ally has taken actions which violate 15 USC§ 1681s-2(b) of the FCRA.


These actions include, but are not limited to: (a) reporting inaccurate, misleading

and/or incomplete information to one or more consumer reporting agencies

regarding the incidents; (b) failing to fully, properly or reasonably investigate


Plaintiff's requests for reinvestigation; (c) failing to review all information regarding

Plaintiff's requests for reinvestigation and/or disregarding information after review;


(d) after receiving notice of Plaintiff's requests for reinvestigation, continuing to

submit inaccurate, misleading and/or incomplete information to one or more


consumer reporting agencies regarding the incidents; (e) failing to modify, delete or


permanently block the reporting of inaccurate information regarding Plaintiff which
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Ally knows to be inaccurate, misleading and/or incomplete; (f) failing to accurately
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respond to Plaintiff's requests for reinvestigation made through               one or more       I
consumer reporting agencies after receipt of those disputes.                                     I
                                                                                                 il
      39.      Ally knows that the information it provided to one or more consumer
                                                                                                 I
reporting agencies was false, inaccurate, misleading and/or incomplete.
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      40.      Because of this conduct, Plaintiff suffered actual damages including loss
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of credit, loss of the ability to purchase and benefit from credit, damage to credit
                                                                                                 l
reputation, reduction in the credit limit or credit terms from at least one other
                                                                                                 j.I
creditor and/or potential employer, mental and emotional pain, distress, anguish,


humiliation, frustration, anxiety and embarrassment.


      41.      The acts and/or omissions of Ally made in violation of the FCRA were
                                                                                                 :1
willful, entitling Plaintiff to recoverthe remedies provided in 15 U.S.C.        § 1681n.         l
                                                                                                  i
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      42.      The acts and/or omissions of Ally made in violation of the FCRA were I
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negligently    made,      entitling     Plaintiff   to   recover    the   remedies   provided,


in 15 U.S.C.   § 16810.

                                      ·countH
                            FCRA Violations Against Equifax


      43. ) The FCRA mandates that " [w]henever                a   consumer reporting agency


prepares a consumer report it shall follow reasonable procedures to assure maximum
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possible accuracy of the information concerning the individual about whom the
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report relates." See 15 U.S.C.        § 1681e(b).                                                     II
                                           Page 9 of13
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      44.   Equifax has prepared consumer       reports   about Plaintiff containing the   1
                                                                                           1
inaccurate "repossession" status of the Ally auto loan.


      45.   Equifax has prepared consumer reports about Plaintiff containing the


inaccurate "repossession" status of the Ally auto loan long after February 2013, the
                                                                                           If
date by which the adverse repossession status could be properly reported under             i
Section 168lc of the FCRA.


      46.   Equifax maintained sufficient information, some of which was provided          I
                                                                                           ]
to Equifax by Plaintiff, to conclude that Plaintiff's Ally auto loan should not be


reported as in a "repossession" status, that it should have been reported as a


repossession reclaimed and that it should not have been reported at all after seven


years had passed since the date of Plaintiff's first delinquency which caused the !
                                                                                           I
                                                                                            l
repossession.


      47.    Equifax has failed to follow reasonable procedures to assure the 't
                                                                                               �
maximum possible accuracy of Plaintiff's credit file and Plaintiff's consumer reports


in violation of Section 1681e(b) of the FCRA.


      48.    Equifax has failed to follow reasonable procedures to assure the


maximum possible accuracy of Plaintiff's credit file and Plaintiff's consumer reports


in violation of Section 1681c of the FCRA.




                                    Page 10 of 13
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      49.    Equifax has failed to disclose the complete contents of Plaintiff's credit    l
file(s) to Plaintiff by failing to include in those disclosures the date of first          ·1
delinquency associated with the repossession status.                                       '


      50.    Plaintiff disputed the accuracy of the Ally tradeline to Equifax but
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Equifax failed to conduct reasonable investigations into Plaintiff's disputes of the
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Ally tradeline and failed to comply in processing those disputes with other                �
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requirements of Section 168li of the FCRA.


      51.    During one telephone conversation between Plaintiff and Equifax               I
representatives, Equifax advised Plaintiff that each time any activity (such as a           I
                                                                                            i   ij

dispute) occurs regarding a credit reporting issue, the time for which it would have


automatically been removed is reset to 10 years from the new activity. This


representation by Equifax was not only intentionally misleading and contrary to the


FCRA, it was also intended to discourage Plaintiff from continuing to exercise his


FCRA rights to dispute the inaccurately reported Ally tradeline.


      52.    Plaintiff has suffered damages, including the denial or inability to obtain        }
credit and various forms of emotional distress because of the actions and inaction of           ·




Equifax.


      53.    Equifax has negligently violated Section 1681e·, alternatively, Equifax                I

has willfully violated Section 1681e.                                                           l
                                        Page 11 of 13

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      54.    Equifax has negligently violated Section 1681c; alternatively Equifax
                                                                              ,
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has willfully violated Section 168lc.


      55.    Equifax has negligently violated Section 168li; alternatively, Equifax               .




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has willfully violated Section 168li.                                                             l
      56.    Equifax has negligently violated Section 168lg; alternatively, Equifax               I
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has willfully violated Section 1681g.


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      57.    Plaintiff has suffered damages because of these violations for which


Plaintiff is entitled to recover under Section 16810, or, alternatively, Section 168ln.
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                                  JURY DEMAND                                                     l
      58.    Plaintiff demands trial by jury.
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                              PRAYER FOR RELIEF
                                                                                                  l
      Plaintiff respectfully requests this Court enter a judgment against Ally and                I1
Equifax for negligent and/ or willful violations of the FCRA and award Plaintiff actual               ]
damages, including damages for mental and emotional pain, distress, anguish,                          l
                                                                                                      Il
                                                                                                      "   '




humiliation, frustration,   anxiety and embarrassment and damage to . credit




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reputation; statutory damages; punitive damages; costs and attorney's fees. Plaintiff


further requests such other relief as the Court deems just and proper.
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